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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND


   DR. DAMIAN MEDICI,

                 Plaintiff

  v.                                                 Civil Action No. 1:17-cv-00265-M-PAS

   LIFESPAN CORPORATION,
   RHODE ISLAND HOSPITAL, and
   MICHAEL SUSIENKA,

                 Defendants.


       ASSENTED-TO MOTION FOR MODIFICATION OF BREFING SCHEDULE ON
               DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Defendants Lifespan Corporation, Rhode Island Hospital and Michael Susienka, with the

 consent of Plaintiff Dr. Damien Medici, respectfully move to modify the briefing schedule on

 Defendants’ Motion for Summary Judgment. The basis for this Motion is as follows:

         1.     Defendants filed their Motion for Summary Judgment on September 13, 2018,

 along with their Statement of Undisputed Facts [Dkt. Nos. 74, 78].

         2.     After the Court granted two Assented-to Motions for Enlargement of Time [Dkt

 Nos. 75, 76], on October 18, 2019, Plaintiff filed his opposition to Defendants Motion for

 Summary Judgment [Dkt. No. 79].

         3.     Plaintiff’s Opposition was accompanied by a Statement of Additional Material

 Facts [Dkt. No. 83] (“Plaintiff’s SAMF”), among other documents.

         4.     Defendants contend that Plaintiff’s SAMF fails to comply with LR Cv 56(a.

         5.     So as to avoid motion practice with respect to Plaintiff’s SAMF, Plaintiff has

 agreed to amend Plaintiff’s SAMF to comply with LR Cv 56(a). However, because of other



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 commitments, Plaintiff’s counsel needs until November 5, 2018 to file the amended Plaintiff’s

 SAMF.

         6.     Thereafter, Defendants have agreed to file their Reply Brief in Further Support of

 Their Motion for Summary Judgment, along with their Response to Plaintiff’s SAMF, on or

 before November 14, 2018.

         7.     This Motion supersedes Defendants Assented Motion for Enlargement of Time to

 File Their Reply on Their Motion for Summary Judgment [Dkt. No. 85], on the Court granted on

 October 22, 2018.

         WHEREFORE, Defendants respectfully request that Plaintiff have until November 5,

 2018 to file an amended Statement of Additional Material Facts, and that Defendants have until

 November 14, 2018 to file their Reply Brief in Further Support of Their Motion for Summary

 Judgment, along with their response to Plaintiff’s Statement of Additional Material Facts.




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  Dated:   October 22, 2018
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                                             DEFENDANTS LIFESPAN
                                             CORPORATION, RHODE ISLAND
                                             HOSPITAL and MICHAEL SUSIENKA




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on October 22, 2018, I electronically filed this document with the
 Clerk of Court using the CM/ECF System, which I understand will send notification of the filing
 to all counsel of record.
                                                        /s/ Rachel M. Wertheimer
                                                        Rachel M. Wertheimer




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